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                                                        THE HONORABLE JOHN C. COUGHENOUR
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 6
                                  UNITED STATES DISTRICT COURT
 7
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9   CHHENG LEANG SO, individually,                        CASE NO. C20-0808-JCC
10                            Plaintiff,                   MINUTE ORDER
11           v.

12   CINEMARK USA, INC. d/b/a CINEMARK
     LINCOLN SQUARE CINEMAS, a foreign
13   corporation,
14                            Defendant.
15

16          The following Minute Order is made by direction of the Court, the Honorable John C.
17   Coughenour, United States District Judge:
18          This matter comes before the Court sua sponte. Trial in this matter is scheduled to
19   commence January 10, 2022 at 9:30 a.m. Court hereby ORDERS:
20          1. The jury trial is continued to February 22, 2022 at 9:30 a.m.
21          2. The proposed pretrial order is due by January 21, 2022.
22          3. Trial briefs and proposed voir dire/jury instructions are due by January 21, 2022.
23          4. The parties are further DIRECTED to submit to motions in limine, if any, by
24                February 11, 2022. Responses to motions in limine, if any, shall be filed no later than
25                February 15, 2022.
26          All other deadlines remain unchanged.

     MINUTE ORDER
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 1        DATED this 6th day of December 2021.

 2                                               Ravi Subramanian
                                                 Clerk of Court
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                                                 s/Sandra Rawski
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                                                 Deputy Clerk
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